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 8                                UNITED STATES DISTRICT COURT
 9                               EASTERN DISTRICT OF CALIFORNIA
10
11 UNITED STATES OF AMERICA,
                                                          NO. CR. S-08-0468 KJM
12                  Plaintiff,
13           v.                                           ORDER
14 MARIA SEFORA SANTA, et al.,
15               Defendants.
     ________________________________/
16
17                  Defendant Fabian Leonte is charged, along with four co-defendants, with
18 participating in a scheme involving straw buyers’ purchase of homes sold at inflated values;
19 when escrows closed, the excess funds in the escrow accounts allegedly were transferred to
20 accounts controlled by various defendants without being spent on the home repairs required by
21 the purchase and loan agreements. In the superseding indictment filed on March 19, 2009,
22 defendant Leonte is charged in three counts of mail fraud (counts 1-3), four counts of false
23 statements in loan applications (counts 10-13), and two counts of engaging in monetary
24 transactions exceeding $10,000 in property derived from specified unlawful activity (counts 16,
25 19).
26                  On October 27, 2011, defendant filed a motion to sever trial of the co-defendants
27 from his trial generally, and specifically to sever other mail fraud counts against other
28 defendants, and identity theft counts against defendants Maria and Virgil Santa. The
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 1 government filed opposition on December 9, 2011. The parties argued the motion on January
 2 30, 2012, after which the motion was submitted. On March 28, 2012, following receipt of a
 3 letter from defendant Leonte, the court held an in camera hearing regarding the status of counsel,
 4 after which it relieved the counsel who had filed the motion to sever and appointed new counsel.1
 5 The court then provided new counsel an opportunity to clarify defendant’s position with respect
 6 to the motion to sever.
 7                   At a status hearing on April 3, 2012, defendant’s new counsel confirmed
 8 defendant was standing on the motion to sever as previously briefed, with the exception of
 9 correcting one typographical error. Also at the status, the court granted the government’s motion
10 to dismiss counts 10 through 13, all counts of false statements in loan applications. The court
11 denied the motion from the bench; this order confirms that denial.
12                   The Federal Rules of Criminal Procedure provide, in pertinent part:
13                   If the joinder of offenses or defendants in an indictment, an
                     information, or a consolidation for trial appears to prejudice a
14                   defendant or the government, the court may order separate trials of
                     counts, sever the defendants’ trials, or provide any other relief that
15                   justice requires.
16 Fed. R. Crim. P. 14(a). “There is a preference in the federal system for joint trials of defendants
17 who are indicted together.” United States v. Stinson, 647 F.3d 1196, 1205 (9th Cir. 2011), cert.
18 denied, __ U.S. __, 2012 WL 425232 (Mar. 19, 2012). In light of this preference, severance is
19 appropriate “only if there is a serious risk that a joint trial would compromise a specific trial
20 right of one of the defendants, or prevent the jury from making a reliable judgment about guilt or
21 innocence.” Id. “[D]efendants are not entitled to severance merely because they may have a
22 better chance of acquittal in separate trials." Collins v. Runnels, 603 F.3d 1127, 1132 (9th Cir.),
23 cert. denied, __ U.S. __, 131 S. Ct. 243 (2010).
24                   Here, defendant argues he will be prejudiced by a joint trial, given that the counts
25 in which only other codefendants are charged are based on activity that occurred in a “totally
26 different time frame” from the activity charged in the counts against him, and that no evidence
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                  On one prior occasion while the motion to sever was pending, the court had denied
28 defendant’s request for new counsel. See ECF 190 (minutes of 1/23/12 status).

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 1 ties him to those other counts. Given what defendant says is a relatively small amount of
 2 evidence related to his actions, defendant argues that limiting instructions will be insufficient to
 3 channel the jury’s compartmentalizing of evidence so as to avoid pinning liability on defendant
 4 for other co-defendants’ wrongful acts. Although defendant and at least one codefendant noted
 5 at argument that there likely will be “finger-pointing at each other” at any trial, defendant has not
 6 argued specifically that he and his codefendants are advancing mutually exclusive defenses.
 7                   The government argues that all of the home purchases underlying the indictment
 8 occurred in a relatively short time period, between February and July 2006. It further argues that
 9 codefendant Maria Santa was the loan officer for each transaction, and codefendant Sava was the
10 person who located the straw buyers. Given these common characteristics of the transactions at
11 issue, and the relatively small number of codefendants, the government argues there is no undue
12 prejudice to defendant, and that any potential prejudice can be precluded through clarifying jury
13 instructions.
14                   On this record, the court cannot find the kind of “serious risk” that any
15 defendant’s particular trial rights will be compromised so as to justify severance of defendants or
16 counts. Carefully crafted jury instructions will be sufficient to ensure the jury reaches a reliable
17 judgment regarding defendant’s guilt or innocence.
18                   In his motion to sever, defendant also references Bruton v. United States, 391
19 U.S. 123 (1968), and the potential Confrontation Clause risks associated with introduction of
20 incriminating statements by nontestifying codefendants. He does not identify any particular
21 statements of concern. At the April 3 hearing, the government’s counsel indicated he does not
22 anticipate seeking to introduce any such statements.2 Accordingly, the court finds no need to
23 review codefendant statements in camera prior to trial.
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                  Defendant’s written motion also requests a “James hearing” to determine in advance
26 of trial “what co-conspirator statements are and are not admissible at trial.” This request is an
     apparent reference to United States v. James, 590 F.2d 575 (5th Cir. 1979). As defense counsel
27 conceded at the April 3 hearing, a pretrial hearing to review co-conspirator statements is at least
     discretionary, if not disfavored, in the Ninth Circuit. See United States v. Zemek, 634 F.2d 1159,
28 1169 n.13 (9th Cir. 1980).

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 1                For the foregoing reasons, and as announced from the bench on April 3,
 2 defendant’s motion to sever is DENIED.
 3 DATED: April 9, 2012.
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 6                                             UNITED STATES DISTRICT JUDGE

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